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IN THE UNITED sTATES DISTRICT coURT -'““E° BY

FOR THE WESTERN DISTRICT oF TENNESSE _
WESTERN DIVIsIoN 1205 JUL 5 PH l 59

Tl'DMAS M. GUJ.D
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THOMAS P. LEWIS, WfD C‘F lile
Plaintiff,
v. No. 02-2958-B

UNITED STATES,
Defendant/Third-Party Plaintiff,

v.

RONALD L. EDMONDS,

Third-Party Defendant.

 

ORDER OF REFERENCE

 

Before the court is the United States’ Objections to Lewis’ and Edmonds’ Disclosures
filed on June 27, 2005.

These objections are referred to the United States Magistrate Judge for determination
Any objections to the magistrate judge’s order shall be made within ten (10) days after service
of the order, setting forth particularly those portions of the order objected to and the reasons for
the objections Failure to timely assign as error a defect in the magistrate judge’s order will
constitute a waiver of that objection. &g Rule 72(a), Federal Rules of Civil Procedure.

IT IS SO ORDERED this _S_____`*_|_\d y of July, 2005.
/ ~%L</\
G.M J. DANIEL BREEN\

I`ED STATES DISTRICT JUDGE

 

This document entered on the docket sheet |n compliance /0?
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Honorable J. Breen
US DISTRICT COURT

